         Case 1:21-cv-04384-GHW Document 43 Filed 11/24/21 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


NEXPOINT STRATEGIC OPPORTUNITIES FUND,

                       Plaintiff,

               -against-
                                                                     Case No. 21-cv-04384
ACIS CAPITAL MANAGEMENT, L.P., U.S.
BANK, N.A., JOSHUA N. TERRY, AND
BRIGADE CAPITAL MANAGEMENT, L.P.,                                   NOTICE OF MOTION
                                                                      TO INTERVENE
                       Defendants,
               -and-

HIGHLAND CLO FUNDING LTD.

                       Proposed Intervenor-Defendant.


       PLEASE TAKE NOTICE that upon the accompanying memorandum of law and the

Declaration of Uri A. Itkin dated November 24, 2021, Proposed Intervenor Defendant Highland

CLO Funding Ltd. (“HCLOF”), by its attorneys Kasowitz Benson Torres LLP, will move this

court for an order granting HCLOF intervention in this action pursuant to Rule 24 of the Federal

Rules of Civil Procedure, and for such other relief as the Court deems just and proper.

Dated: New York, New York                      Respectfully submitted,
       November 24, 2021
                                               KASOWITZ BENSON TORRES LLP

                                               By: /s/ Uri A. Itkin
                                                   Uri A. Itkin
                                                   Jill L. Forster
                                                   Andrew W. Breland

                                               1633 Broadway
                                               New York, New York 10019
                                               Telephone: (212) 506-1700

                                               Attorneys for Proposed Intervenor Highland CLO
                                               Funding, Ltd.
         Case 1:21-cv-04384-GHW Document 43 Filed 11/24/21 Page 2 of 2




                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Notice of Motion to Intervene

was served on this the 24th day of November, 2021 on all counsel of record via CM/ECF pursuant

to the Federal Rules of Civil Procedure.


                                                     /s/ Uri A. Itkin
                                                     Uri A. Itkin




                                                2
